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                                                                         October 19, 2020


VIA ECF

Hon. Paul A. Engelmayer
Thurgood Marshall
United States Courthouse
40 Foley Square
New York, NY 10007

             Re:             MDA Manufacturing, Inc. v. Mexichem Fluor Comercial S.A. De C.V.,
                             Civil Action No. 20-cv-03835
                             Plaintiff’s Letter Motion to Partially Seal Motion to Dismiss Opposition

Dear Judge Engelmayer:

        I write on behalf of Plaintiff MDA Manufacturing, Inc. (“MDA”) in the above-captioned
action. MDA respectfully requests an Order, similar to the Court’s previous Orders (see ECF
Nos. 1, 8, and 23), granting MDA leave to (i) file under seal the unredacted version of MDA’s
Memorandum in Opposition to Mexichem Fluor Comercial S.A. De C.V.’s Motion to Dismiss
the Amended Complaint (the “Opposition”), and (ii) file a redacted public version of MDA’s
Opposition. An unredacted version of MDA’s Opposition, which highlights in yellow the
portions that MDA proposes to redact from the public version, is enclosed herewith.

        As noted in our previous letter motions (see ECF Nos. 1 and 20), there are two primary
reasons for MDA’s request to file its Opposition under seal. First, the relevant long-term supply
contract (the “Contract”) and its terms, which are referenced throughout MDA’s Opposition, are
subject to a confidentiality obligation. Specifically, Section 12 of the Contract requires both
parties to keep the Contract and its terms “strictly confidential.” Second, the Contract contains
competitively sensitive pricing information, which is necessarily referred to in MDA’s
Opposition, and public disclosure of that information would cause harm to MDA.

       MDA has sought to minimize the redactions to its Opposition, limiting them only to those
portions that refer to confidential information. MDA therefore respectfully asks the Court to
endorse this letter, and to permit MDA to file an unredacted version of its Opposition and to
allow MDA to file publicly the redacted version of that Opposition.




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DUBAI   x   DÜSSELDORF            x    FRANKFUR T       x   HONG KONG         x       HOUS TO N    x   IRVINE       x       JEDDAH       x   LOND ON       x       LOS ANGELES            x   MADRID
MEXICO CIT Y     x   MIAMI    x       MIL AN   x   MOSCOW      x       MUNICH     x    NEW YORK        x   PAR IS       x       PER TH   x   PITTSBURGH                x   R IYAD H   x   SAN DIEGO
SAN FRANCISCO         x   SÃO PAU LO           x   SHANGHAI        x    SILICON VALLEY         x   SINGAPORE                x    S YDNEY      x   TAIPEI       x       TOKYO     x    WASHINGTO N
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October 19, 2020
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      We appreciate your attention to this matter.

                                               Respectfully submitted,

                                               /s/ Allison L. Waks

                                               Allison L. Waks

cc:   Theodore M. Grossman, Esq.
      Michael A. Platt, Esq.
      Debbie McComas, Esq.
      Joseph Lawlow, Esq.

Enclosure




 Granted.

 SO ORDERED.

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                   PAUL A. ENGELMAYER
                   United States District Judge
 October 20, 2020
